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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF INDIANA
                            SOUTH BEND DIVISION


 UNITED STATES OF AMERICA                 )
                                          )
              vs.                         )      CAUSE NO. 3:09-CR-100 RM
                                          )
 GLADYS OMAYRA SANTIAGO (02)              )


                               OPINION and ORDER

       Gladys Santiago pleaded guilty in December 2009 to a charge of possession

 with intent to distribute 20 to 40 grams of heroin; in March 2010, she was

 sentenced to a 28-month term of incarceration to be followed by a three-year

 supervised release term. Ms. Santiago is now before the court seeking modification

 of her sentence based on her claim that intervening changes in the Sentencing

 Guidelines effectively lower her term of imprisonment. According to Ms. Santiago,

 the court should “apply the advisory Sentencing Guidelines to the instant re-

 sentencing 18 U.S.C. § 3582(c)(2) proceedings, not withstanding that the old

 mandatory Sentencing Guidelines were in force and effect at the time of this

 court’s original sentencing of petitioner.”

       18 U.S.C. § 3582(c)(2) allows a court to modify a term of imprisonment if the

 defendant “has been sentenced to a term of imprisonment based on a sentencing

 range that has subsequently been lowered by the Sentencing Commission . . . if

 such a reduction is consistent with applicable policy statements issued by the

 Sentencing Commission.” To the extent Ms. Santiago claims her sentence was

 improperly imposed under “the old mandatory Sentencing Guidelines,” she is
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 mistaken. Contrary to her claim, the Sentencing Guidelines were recognized as

 advisory more than five years before her March 2010 sentencing. See Booker v.

 United States, 543 U.S. 220, 264 (2005) (The district courts, while not bound to

 apply the Guidelines, must consult those Guidelines and take them into account

 when sentencing.”). The court began its analysis of Ms. Santiago’s sentence by

 recognizing that “[a] sentencing court first computes the guidelines sentence

 correctly, then decides whether the guidelines sentence is the correct sentence for

 that defendant, [and] uses the guideline range as the starting point and initial

 benchmark, but doesn’t presume that the recommended range is reasonable.”

 Sent. Memo., at 2. Ms. Santiago isn’t entitled to modification of her sentence on

 this basis.

       Ms. Santiago next says her sentence should be reduced in reliance on two

 amendments to the Sentencing Guidelines. She first references Amendment 51,

 which eliminates consideration under U.S.S.G. § 4A1.1 of “recency” criminal

 history points in the sentencing calculation. She claims that that amendment

 would reduce her criminal history points, lower her criminal history category, and

 entitle her to a sentence reduction. The court can’t agree. Ms. Santiago’s guideline

 range was determined based on a finding that she had no criminal history points

 and was in criminal history category I, see Sent. Memo., at 4, so the amendment

 and its elimination of recency points wouldn’t affect Ms. Santiago’s criminal



       1
           Amendment 742, effective Nov. 1, 2010.

                                               2
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 history category or her sentence. She isn’t entitled to modification of her sentence

 on this basis.

       Ms. Santiago lastly references Amendment 22 and the revisions to policy

 statements in Chapter Five, Part H, relating to mental and emotional conditions

 (U.S.S.G. § 5H1.3) and physical condition, including drug or alcohol abuse and

 gambling (U.S.S.G. § 5H1.4). Ms. Santiago says a downward departure may be

 appropriate to accomplish “a specific treatment purpose,” a phrase referenced in

 U.S.S.G. § 5C1.1, which states that when considering a departure from a term of

 imprisonment to a term of intermittent confinement, community confinement, or

 home detention to accomplish “a specific treatment purpose,” the court should

 consider such a departure “only in cases where the court finds (A) the defendant

 is an abuser of narcotics, other controlled substances, or alcohol, or suffers from

 a significant mental illness, and (B) the defendant’s criminality is related to the

 treatment problem to be addressed.” U.S.S.G. § 5C1.1 comment. n.6. Ms. Santiago

 says the court should grant her a downward departure because she has mental

 health issues, she hasn’t been given any meaningful mental treatment or help

 during her incarceration, and she is needed at home to care for her seventeen-

 month daughter, who has a congenital birth defect that might require surgery.

 Again, the court can’t agree.




       2
           Amendment 738, effective Nov. 1, 2010.

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       At sentencing, the court considered the issues of Ms. Santiago’s mental

 health and the medical condition of her daughter:

       [Ms. Santiago] has three young children, one with a serious medical
       condition that will require surgery. . . . Ms. Santiago has no history
       of drug or alcohol abuse, but has suffered with mental health issues
       for many years; she began participating in out-patient mental health
       counseling on three occasions, but never completed the programs
       recommended for her.

 Sent. Memo., at 5-6. Ms. Santiago hasn’t argued or established that (A) she suffers

 from drug or alcohol abuse, she has a gambling problem, or her mental health

 issues are “significant” and (B) her criminality is related to her mental health

 issues, nor has she demonstrated that her mental health problems and her

 daughter’s medical condition weren’t considered at the time of her sentencing.

 Thus, her claim that her sentence should be modified based on the Sentencing

 Guidelines’ Amendment 2 is misplaced.

       Based on the foregoing, the court DENIES Ms. Santiago’s motion for

 modification or reduction of sentence pursuant to 18 U.S.C. § 3582(c)(2) [docket

 # 95] and DENIES her motions to proceed pro se [docket # 96] and in forma

 pauperis [docket # 97] as unnecessary.

       SO ORDERED.

       ENTERED:      November 12, 2010



                                  /s/ Robert L. Miller, Jr.
                                Judge, United States District Court

 cc:   G. Santiago

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       AUSA Schmid




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